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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 CHARIF KAZAL, ADAM KAZAL, TONY
 KAZAL, and KARL KAZAL,

        Plaintiffs,
                                                      CASE NO. 8:17-CV-2945-T-23AAS
 v.

 MATTHEW PRICE,

        Defendant.
                                                  /

      JOINT STIPULATION BY ALL PARTIES FOR TRANSFER OF ACTION TO
                    CENTRAL DISTRICT OF CALIFORNIA

         Plaintiffs, CHARIF KAZAL, ADAM KAZAL, TONY KAZAL, and KARL KAZAL

  (collectively, “KAZAL Brothers” or “Plaintiffs”) by and through undersigned counsel and

  Defendant, MATTHEW PRICE, by and through undersigned counsel, hereby stipulate to the

  transfer of this action from the United States District Court, Middle District of Florida,

  Tampa Division to the Central District of California, as the Central District of California has

  jurisdiction over all parties, is more convenient for all parties, and is expected to have

  personal jurisdiction over any potential new defendants that Plaintiffs may add with their

  contemplated amended complaint.

         Pursuant to 28 USC §1404(a), a district court may transfer any civil action to any

  other district or division where it may have been brought or to any district or division to

  which all parties have consented. It will be more convenient for all parties to this matter for

  this action to be transferred and litigated in the Central District of California. The majority

  of the witnesses are in California, the location of documents and other evidence are in
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  California, the subject matter of the lawsuit (the websites) were created in California, and

  therefore discovery will be much more efficient in the Central District of California.

  Therefore, all of the parties to this litigation have agreed and stipulate to this Court that the

  requested transfer of this action to the Federal District Court in and for the Central District of

  California will be more convenient and efficient.

         WHEREFORE, all parties to this litigation respectfully request the entry of an order

  transferring this matter to the Federal District Court in and for the Central District of

  California.

  Dated: October 3, 2018


   By: /s/ G. Wrede Kirkpatrick
   G. Wrede Kirkpatrick
   Florida Bar No. 984116
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   Local counsel for Plaintiffs, Charif Kazal,
   Adam Kazal, Tony Kazal, and Karl Kazal


   By: /s/ Bradford R. Sohn                           By: Steven T. Gebelin
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 3rd day of October, 2018, a copy of the foregoing

  document was electronically filed with the Clerk of the Court using the CM/ECF system,

  which served a notice of electronic filing on the following:

   Bradford Rothwell Sohn, Esq.                      Steven T. Gebelin, Esq.
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   Attorney for Defendant Matthew Price              Attorney for Defendant Matthew Price



                                               /s/ G. Wrede Kirkpatrick
                                               Attorney




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